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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                        )
                                        )
CHAMBER OF COMMERCE OF THE              )
UNITED STATES OF AMERICA, et al.,       )
                                        )
           Plaintiffs,                  )
                                        ) Civil Case No. 6:23-cv-00553-JCB
                                        )
      v.                                )
                                        )
                                        )
NATIONAL LABOR RELATIONS BOARD, et al., )
                                        )
           Defendants.                  )
                                        )
                                        )
                                        )

                      DEFENDANTS’ NOTICE OF RELATED CASE

       Defendants National Labor Relations Board (“the Board”), its named Chairman and

Members, respectfully notify the Court pursuant to JCB-CV-42 [ECF No. 5] and Local Rule

CV-42(a) that one defendant, the Board, is a party in a related case. That case, Service

Employees International Union v. National Labor Relations Board (“SEIU v. NLRB”), was

filed on November 6, 2023, in the United States Court of Appeals for the District of

Columbia Circuit, and docketed as D.C. Circuit Case Number 23-1309. In SEIU v. NLRB, the

petitioner filed a petition for review of the same final rule (88 Fed. Reg. 73,946), issued by

the Board on October 27, 2023, that is subject to challenge in the instant case. Therefore, all

or a material part of the above-captioned action is related to the subject matter or operative

facts of an earlier filed action, now pending in the D.C. Circuit.




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                                    Respectfully submitted,


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                                    Attorneys for Defendants

Dated: November 14, 2023




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                                CERTIFICATE OF SERVICE

      I certify that on November 14, 2023, I filed the foregoing Notice of Related Case with

this Court using the CM/ECF filing system, and a copy is being served on the ECF Filers

electronically by the Notice of Docket activity.




                                              Respectfully submitted,
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